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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 1:22-CR-230 (RC)
                                              :
BRIAN SCOTT JACKSON,
ADAM LEJAY JACKSON,                           :
                                              :
                       Defendants.            :


            UNITED STATES’ MOTION TO RESET STATUS CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests that the Court reset the Status Conference presently

scheduled for March 10, 2023 at 3:00 to an alternative date/time either before or after March 10,

2023, such as the Court’s schedule will permit.


       1) The Undersigned Counsel for the United States is the sole A.U.S.A. presently assigned

           to this matter.


       2) The Undersigned Counsel is required to appear in-person for a Final Pre-trial

           Conference in the case of United States v. Shane Jenkins (1:21-CR-245) at 3:00 P.M

           on March 10, 2023.


       3) In as much as there is a direct conflict, the United States requests that the Status

           Conference currently set for March 10th at 3:00 be reset to alternative date/time.


       4) The Undersigned Counsel has consulted with Defense Counsel, and they do not oppose

           the instant request.




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5) Should the next available date amendable to the Court and Defense Counsel be a date

   later than March 10th, the United States would request that the Court exclude the time

   until such date pursuant to 18 U.S.C. § 3161 et seq., on the basis that the ends of justice

   served by taking such actions outweigh the best interest of the public and the defendant

   in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A).



                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           D.C. Bar No. 481052


                                     By:     /s/ David J. Perri
                                           David J. Perri
                                           WV Bar Number: 9219
                                           Assistant United States Attorney Detailee
                                           United States Attorney’s Office
                                           Northern District of West Virginia
                                           1125 Chapline St., Suite 3000
                                           Wheeling, WV 26003
                                           (304) 234-0100




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                               CERTIFICATE OF SERVICE


       I, David J. Perri, Assistant United States Attorney for the District of Columbia, hereby

certify that the foregoing UNITED STATES’ MOTION TO RESET STATUS CONFERENCE

has been electronically filed with the Clerk of the Court using the CM/ECF system, which will

send notifications of such filing to the following:

       Carolyn Stewart, Esq.
       Stewart Country Law PA
       1204 Swilley Rd.
       Plant City, FL 33567

       John Machado, Esq.
       Law Office of John Machado
       503 D. Street, NW
       Washington, D.C. 20001



    Dated: March 6, 2023


                                              By:       /s/ David J. Perri
                                                      David J. Perri
                                                      WV Bar Number: 9219
                                                      Assistant United States Attorney Detailee
                                                      United States Attorney’s Office
                                                      Northern District of West Virginia
                                                      1125 Chapline St., Suite 3000
                                                      Wheeling, WV 26003
                                                      (304) 234-0100




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